                                     No. 24-10563-H

        In the United States Court of Appeals
               for the Eleventh Circuit
                                FANNIE WRIGHT,
                                Appellant/Petitioner,

                                           v.

                  COMMISSIONER OF INTERNAL REVENUE,
                           Appellee/Respondent.


                            ON APPEAL FROM
                    THE UNITED STATES TAX COURT
                                No. 21509-18
                Hon. Joseph H. Gale, Tax Court Judge, Presiding
             _______________________________________________

                    OPENING BRIEF FOR APPELLANT
             ______________________________________________

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       CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                     DISCLOSURE STATEMENT

      The undersigned counsel for Appellant, pursuant to Local Rule 26.1-1 certifies

that, to the best of Appellant’s knowledge, the following is a complete list of interested

persons:

      Judges Below:

Hon. Joseph H. Gale

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       There are no publicly traded companies that own 10% or more or any interest

of any party to the instant litigation.

                STATEMENT REGARDING ORAL ARGUMENT

       Because of the complexity and significance of the issues involved, which (to the

best of the undersigned’s knowledge) present questions of first impression for this or

any Court of Appeals, Appellant respectfully requests oral argument, which Appellant

believes would assist this Court in the determination of the issues presented on appeal.




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     STATEMENT OF SUBJECT MATTER & APPELLATE JURISDICTION

      The Tax Court had jurisdiction under 26 U.S.C. § 6015(e)(1). This Court has

jurisdiction pursuant to 26 U.S.C. § 7482(a)(1).

                          STATEMENT OF THE ISSUES

1.    Whether the Tax Court erred as a matter of law in finding that the for-cause

limitation on the President’s removal authority over Tax Court judges under 26

U.S.C. § 7443(f) does not violate Article II of the U.S. Constitution; or, if not,

2.    Whether the Tax Court erred as a matter of law in finding that the President’s

removal authority over Tax Court judges under 26 U.S.C. § 7443(f) does not violate

the Separation of Powers Doctrine; and

3.    Whether the Tax Court is required to find that a legally effective joint tax return

was filed in order to uphold a final determination denying innocent spouse relief.

            STATEMENT OF RELATED CASES & PROCEEDINGS

      There are no related cases between the Parties. To the best of the undersigned’s

knowledge, no cases involving the same issue are pending appeal in this Court.




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                            STATEMENT OF THE CASE

I.    FACTS.

      Appellant was married to Willie Wright (“Mr. Wright”) during the taxable years

at issue (2013, 2014, and 2015) and until Mr. Wright’s death in August 2016. R.451

at 58-59; R.40 at 31 (Ex. 4-J). Appellant and Mr. Wright began filing joint federal

income tax returns after their marriage in 1973. R.45 at 64-65.

      In the early 1990s, when Appellant’s and Mr. Wright’s daughter began

attending college, Mr. Wright refused to participate in obtaining student loans and

Appellant, individually, assisted in obtaining them, which fell into default around

2006 or 2007. R.45 at 65-66. Appellant and Mr. Wright stopped filing jointly and

began filing individually (married filing separately) shortly after the loans went into

default, which Appellant believed was why Mr. Wright did not want to file jointly with

Appellant. R.45 at 78.

      Appellant worked as a licensed practical nurse for decades until May 2012,

when she suffered a workplace injury. R.45 at 56-57. Appellant believed, based on

advice from her attorney and her tax return preparer, that she would no longer have

to file tax returns after she stopped working due to her workplace injury. R.45 at 71-



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  Citations to the record are styled as “R.## at ##.” Pages of the trial transcript (R.45)
reference the numbers at the top right of the pages (not the PDF, which includes an
unnumbered cover page).

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73. Appellant filed her taxes individually (i.e., separately from Mr. Wright) for each of

the years 2008 through 2012, which was the last year she earned income through

employment. R.45 at 69; R.41 ¶ 33. After working for part of the year in 2012,

beginning in 2013, Appellant’s only source of income was social security benefits.

R.45 at 74-75.

      Mr. Wright requested to file jointly with Appellant again beginning for tax year

2013; however, Appellant did not want to resume filing jointly. R.45 at 85. Appellant

signed a document for tax year 2013 at the request of Mr. Wright that Appellant

believed was only to state that she was disabled. Appellant could not recall what the

specific document she signed was, but signed it solely to state that she was disabled.

R.45 at 80-81.

      Appellant believed that Mr. Wright had tricked her into signing a document in

2013 despite Appellant asserting to Mr. Wright that Appellant was not required to

file taxes for 2013. Appellant did not agree to file jointly with Mr. Wright for 2013

and refused to sign any document for years 2014 and 2015. R.45 at 83-84; 101-103.

Appellant did not file a tax return for 2014. Mr. Wright asked Appellant about filing

jointly with him but Appellant responded, “No,” because, as Mr. Wright had

previously not wanted to file jointly with Appellant, she did not want to file with Mr.

Wright, and she was advised that she did not have to file. R.45 at 75.



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        Appellant testified she did not intend to file a joint tax return with Mr. Wright

for 2013, 2014, or 2015. R.45 at 75-77; 110-111:1; see also R.40 at 9-15, 69 (Ex. 1-J,

Ex. 8-J).

II.     PROCEDURAL HISTORY.

        On August 6, 2018, the IRS Independent Office of Appeals issued a final

determination denying Appellant innocent spouse relief under Section 2 6015(b), (c)

and (f) for 2013 and 2014 and under Section 6015(f) for 2015. R.36. On October 26,

2018, Appellant timely filed her petition for determination of relief from joint and

several liability. R.1.

        During the course of the litigation, Appellant filed a series of motions, each of

which was denied by the Tax Court. The case proceeded to trial in February 2020, at

which Appellant was the sole witness and testified that she never intended to file a

joint tax return with Mr. Wright for any of the years at issue and that after being

tricked into signing a document for 2013 that she believed was simply to attest to

being disabled, she refused to sign anything for 2014 or 2015. See, e.g., R.45 at 75-77.

        However, the Tax Court made no finding as to whether any valid joint tax

return existed for any year at issue; rather, it held, “[r]egardless of whether Appellant

consented to having joint returns filed on her behalf, we lack jurisdiction to review



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    “Section” references Title 26, U.S. Code (the Internal Revenue Code, the “Code”).

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that claim in this proceeding insofar as it might bear on the correctness of the

assessments.” R.63 at 6. Appellant timely filed her notice of appeal and timely filed

her amended notice of appeal. R.65, R.68.

III.   RULINGS PRESENTED FOR REVIEW.

       Appellant appeals the Decision (R.64) and Memorandum Opinion (R.63), the

Order (R.62) denying Appellant’s Motion to Declare 26 U.S.C. § 7443(f)

Unconstitutional, and (3) the Order (R.32) denying Appellant’s Motion to Disqualify

& Motion to Declare 26 U.S.C. § 7443(f) Unconstitutional.

                        SUMMARY OF THE ARGUMENT

       Section 7443(f) violates the Constitution’s requirement of presidential control

over the exercise of Article II powers. The Tax Court does not fit the historically-

allowed exceptions to at-will removal of Executive Officers by the President.

       Alternatively, if the Tax Court is not an Article II entity exercising Executive

power, the President’s ability to remove Tax Court judges violates the Separation of

Powers Doctrine’s prohibition of interbranch removal. If the Tax Court does not

exercise Executive power, the President’s removal authority over Tax Court judges

threatens the integrity of the judicial process and unconstitutionally affords the

President control over non-Executive power.




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       Lastly, a finding that a valid joint tax return was filed for each year at issue is a

necessary element to uphold a determination denying a taxpayer relief from joint and

several liability.

                              STANDARD OF REVIEW

       “[Q]uestions of law are reviewed de novo” by this Court. United States v.

Kapordelis, 569 F.3d 1291, 1306 (11th Cir. 2009). Likewise, the “plenary standard

applies to questions of constitutional law.” Fort Lauderdale Food Not Bombs v. City of

Fort Lauderdale, 901 F.3d 1235, 1239 (11th Cir. 2018).

                                      ARGUMENT

I.     BACKGROUND.

       Both the Tax Court and the D.C. Circuit have considered whether the

President’s removal power under Section 7443(f) is unconstitutional based on

allegations of impermissible interbranch encroachment violating the separation of

powers. See Battat v. Comm’r, 148 T.C. 32 (2017); Kuretski v. Comm’r, 755 F.3d 929

(D.C. Cir. 2014); Crim v. Comm’r of Internal Revenue, 66 F.4th 999 (D.C. Cir. 2023).

Both Courts held in the negative – but based on entirely different (and incompatible)

reasoning.

       The Tax Court below, upheld Battat, R.32, and also held that Section 7443(f)

is not unconstitutional for violating Article II. R.62. Accordingly, this Court is

squarely presented with the questions of where the Tax Court is situated, what

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governmental power(s) it exercises within our constitutional design, and,

consequently, whether Section 7334(f) passes constitutional muster. Regardless of the

Tax Court’s precise character, this Court should hold Section 7443(f) cannot stand.

       A.     The Statutory Design and Judicial Interpretation of the Tax Court.

       The Tax Court was codified as an independent executive agency prior to 1969,

when the Tax Reform Act of 1969 removed the explicit designation, see Pub. L. 91–

172, 83 Stat. 487, leaving its precise nature subject to judicial interpretation. However,

its powers were expanded and codified, see generally, e.g., 26 U.S.C. § 7456 (entitled,

“Administration of oaths and procurement of testimony”), to include the contempt

“power to punish by fine or imprisonment,” 26 U.S.C. § 7456(c), and the power to

“have such assistance in the carrying out of its lawful writ, process, order, rule, decree,

or command as is available to a court of the United States….” 26 U.S.C. § 7456(c)

(flush language).

       Thus, the Tax Court was codified to mirror, within the context of federal

taxation, a court of law established under Article III that exercises the judicial power

of the United States.

              1.     The D.C. Circuit’s Decision in Kuretski.

       In Kuretski, the D.C. Circuit noted that the Supreme Court in Freytag v. Comm’r,

501 U.S. 868 (1991), had “observed that the Tax Court exercises a portion of the



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judicial power of the United States.” 755 F.3d at 941 (cleaned up). It explained that

the “Freytag Court clarified that non-Article III tribunals exercise the judicial power of

the United States, such that the judicial power of the United States is not limited to

the judicial power defined under Article III.” Id. (cleaned up). Thus, the “Tax Court

is an adjudicative body” and “[a] tribunal constitutes a ‘legislative court’ if its power is

not conferred by the third article of the Constitution, but by Congress in the

execution of other provisions of that instrument.” Id. at 941, 942 (cleaned up).

       Nevertheless, it continued, “[t]he Tax Court’s status as an Article I legislative

court, does not mean that its judges exercise ‘legislative power’ under Article I.” Id. at

943. Therefore, Freytag “explained that Tax Court judges do not exercise the ‘judicial

power of the United States’ pursuant to Article III [and] also explained that Congress’s

establishment of the Tax Court as an Article I legislative court did not transfer the

Tax Court to the Legislative Branch.” Id.

       [T]he Kuretskis have failed to persuade us that Tax Court judges exercise
       their authority as part of any branch other than the Executive.
       Consequently, if a President were someday to exercise the authority
       under 26 U.S.C. § 7443(f) to remove a Tax Court judge for cause, the
       removal would be entirely consistent with separation-of-powers
       principles.

Id. at 939. That is so, according to the Kuretski court, because “[e]ven if the 1969 Act

transformed the Tax Court into an Article I legislative court, it did not thereby transfer




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the Tax Court to the Legislative Branch.” Id. at 942. “It follows that the Tax Court

exercises its authority as part of the Executive Branch.” Id. at 943.

      Ultimately, Kuretski concluded, because “the Tax Court, in our view, exercises

Executive authority as part of the Executive Branch[, p]residential removal of a Tax

Court judge thus would constitute an intra—not inter—branch removal.” Id. at 932.

Therefore, the D.C. Circuit held there was no constitutional infirmity with

“presidential removal of Tax Court judges” because “the Tax Court exercises its

authority as part of the Executive Branch.” Id. at 943.

             2.     Post-Kuretski Statutory Amendment to Section 7441.

      After Kuretski, Congress amended the Code to state, “[t]he Tax Court is not an

agency of, and shall be independent of, the executive branch of the Government. 26 U.S.C.

§ 7441 (emphasis added).

      Extant law provides, Congress has

      established, under article I of the Constitution of the United States, a
      court of record to be known as the United States Tax Court. The
      members of the Tax Court shall be the chief judge and the judges of the
      Tax Court. The Tax Court is not an agency of, and shall be independent
      of, the executive branch of the Government.

Id. And, consistent with that language, the legislative history makes pellucid

congressional intent that the Tax Court “is not part of the Executive Branch.” S. Rep.

114-14 (emphasis added).



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      However, Section 7443’s appointment and removal provisions were not

amended; it remains that after “appoint[ment] by the President, by and with the advice

and consent of the Senate,” 26 U.S.C. § 7443(b), “[j]udges of the Tax Court may be

removed by the President, after notice and opportunity for public hearing, for

inefficiency, neglect of duty, or malfeasance in office, but for no other cause.” 26

U.S.C. § 7443(f).

             3.     The Tax Court’s Decision in Battat.

      The Tax Court considered a similar challenge as the D.C. Circuit in Kuretski,

after the statutory amendment, and acknowledged,

      [i]n the explanation of the change contained in the report of the Senate
      Finance Committee, the Committee said it was—

             concerned that statements in Kuretski v. Commissioner may
             lead the public to question the independence of the Tax
             Court, especially in relation to the Department of Treasury
             or the Internal Revenue Service. The Committee wishes to
             remove any uncertainty caused by Kuretski v. Commissioner,
             and to ensure that there is no appearance of institutional
             bias.

Battat, 148 T.C. at 49 (citation omitted).

      The Tax Court diverged with the D.C. Circuit’s reasoning, concluding that,

“[w]hile the Tax Court exercises a portion of the judicial power of the United States,

it has jurisdiction to adjudicate only public rights disputes, and thus does not exercise

that portion of the judicial power that is reserved for Article III judges.” Id. at 53.


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Ultimately, Battat “conclude[d] that regardless of the branch location of the Tax Court,

provisions authorizing removal of Tax Court Judges are constitutional.” Id. at 52

(emphasis added).

             4.     The D.C. Circuit’s Decision in Crim.

      In Crim, the D.C. Circuit considered substantially the same arguments it was

presented with in Kuretski (i.e., interbranch Separation of Powers), but (like Battat)

after the statutory amendment to Section 7441. In its view, Section 7441 “describe[s]

the Tax Court’s functional independence rather than its constitutional status,” and

“in 1969, Congress, in departing from the prior language describing the Tax Court as

an executive ‘agency,’ aimed to emphasize the Tax Court’s independence as a ‘court’

reviewing the actions of the IRS.” Crim, 66 F.4th at 1001 (cleaned up). Finally, with

the 2015 amendment, “Congress sought only to ensure that there is no appearance of

institutional bias when the Tax Court adjudicates disputes between the IRS and

taxpayers.” Id. (cleaned up).

      Thus, the D.C. Circuit rejected the interbranch arguments “[b]ecause the Tax

Court exercises its authority as part of the Executive Branch” even after the statutory

amendment. Id. at 1000 (cleaned up).

      And, Judge Walker (dissenting from the majority with respect to Section 6700

penalties only) explained: “If the Tax Court were outside of the executive branch, the



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President’s power to remove its judges would be problematic. But because the Tax

Court is inside the executive branch, there is no such problem.” Id. at 1006 (Walker,

J., dissenting) (emphasis in original). Judge Walker emphasized that the 2015

amendments to Section 7441 “did not change the Tax Court’s position within our

system of government. So the Tax Court remains part of the executive branch, just as it

was before the amendment.” Id. (Walker, J., dissenting) (emphasis added).

       B.     The Separation of Powers and Article II of the Constitution.

       Early in our Republic, the Supreme Court explained that “[t]he object of the

constitution was to establish three great departments of government; the legislative,

the executive, and the judicial departments.” Martin v. Hunter’s Lessee, 14 U.S. 304,

329 (1816). And pursuant to that constitutional design, Article II of the

Constitutional vests the Executive power in and requires that the President “shall take

Care that the Laws be faithfully executed[.]” U.S. Const. art. II, § 3.

       Clearly, “[t]he principle of separation of powers was not simply an abstract

generalization in the minds of the Framers: it was woven into the documents that they

drafted in Philadelphia in the summer of 1787.” I.N.S. v. Chadha, 462 U.S. 919, 946

(1983) (cleaned up). “The very structure of the articles delegating and

separating powers under Arts. I, II, and III exemplify the concept of separation

of powers[.]” Id.



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      The Framers recognized that, in the long term, structural protections
      against abuse of power were critical to preserving liberty. Their solution
      to governmental power and its perils was simple: divide it. To prevent
      the gradual concentration of power in the same hands, they enabled
      ambition to counteract ambition at every turn. At the highest level, they
      “split the atom of sovereignty” itself into one Federal Government and
      the States. They then divided the powers of the new Federal Government
      into three defined categories, Legislative, Executive, and Judicial.

Seila Law LLC v. Consumer Fin. Prot. Bureau, 140 S. Ct. 2183, 2202 (2020) (cleaned up,

quoting, inter alia, The Federalist No. 51, p. 349 (J. Cooke ed. 1961) (J. Madison)).

      The Executive Branch is a stark departure from all this division. The
      Framers viewed the legislative power as a special threat to individual
      liberty, so they divided that power to ensure that differences of opinion
      and the jarrings of parties would promote deliberation and
      circumspection and check excesses in the majority. By contrast, the
      Framers thought it necessary to secure the authority of the Executive so
      that he could carry out his unique responsibilities. As Madison put it,
      while the weight of the legislative authority requires that it should be
      divided, the weakness of the executive may require, on the other hand,
      that it should be fortified.

Id. at 2203 (cleaned up, quoting repeatedly, The Federalist No. 70 (A. Hamilton)).

      Thus, as the entirety of Article II power is vested in the President, “[t]o justify

and check that authority—unique in our constitutional structure—the Framers made

the President the most democratic and politically accountable official in

Government.” Id. (emphasis in original). Consequently, “the President cannot

delegate ultimate responsibility or the active obligation to supervise that goes with it,

because Article II makes a single President responsible for the actions of the Executive



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Branch.” Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 496–97

(2010) (cleaned up). In the language of the Constitution, “[t]he President cannot ‘take

Care that the Laws be faithfully executed’ if he cannot oversee the faithfulness of the

officers who execute them.” Id. at 484 (quoting U.S. Const. art. II, § 3).

      This understanding of Executive power has been paramount to our history:

      The landmark case of Myers v. United States reaffirmed the principle that
      Article II confers on the President “the general administrative control of
      those executing the laws.” It is his responsibility to take care that the laws
      be faithfully executed. The buck stops with the President, in Harry
      Truman’s famous phrase.

Id. at 492-93 (cleaned up). “[O]ur Constitution ‘was adopted to enable the people to

govern themselves, through their elected leaders,’ and the Constitution ‘requires that

a President chosen by the entire Nation oversee the execution of the laws.’” PHH Corp.

v. Consumer Fin. Prot. Bureau, 881 F.3d 75, 167–68 (D.C. Cir. 2018) (Kavanaugh, J.,

dissenting) (quoting Free Enter. Fund 561 U.S. at 499).

      The people rely on the President to execute the law in the manner that best

represents the will of the electorate.

      The Constitution that makes the President accountable to the people for
      executing the laws also gives him the power to do so. That power
      includes, as a general matter, the authority to remove those who assist
      him in carrying out his duties. Without such power, the President could
      not be held fully accountable for discharging his own responsibilities; the
      buck would stop somewhere else.

Id. at 513–14 (Kavanaugh, J., dissenting).

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       If the people cannot determine who the elected officials are that make

important decisions that impact their lives, the right to vote loses meaning.

       The diffusion of power carries with it a diffusion of accountability. The
       people do not vote for the “Officers of the United States.” They instead
       look to the President to guide the assistants or deputies ... subject to his
       superintendence. Without a clear and effective chain of command, the
       public cannot determine on whom the blame or the punishment of a
       pernicious measure, or series of pernicious measures ought really to fall.
       That is why the Framers sought to ensure that those who are employed
       in the execution of the law will be in their proper situation, and the chain
       of dependence be preserved; the lowest officers, the middle grade, and
       the highest, will depend, as they ought, on the President, and the
       President on the community.

Free Enter. Fund., 561 U.S. at 497-98 (cleaned up).

       And “the doctrine of separation of powers is a structural safeguard rather than a

remedy to be applied only when specific harm, or risk of specific harm, can be

identified.” Plaut v. Spendthrift Farm, Inc., 514 U.S. 211, 239 (1995) (emphasis in

original). “‘[S]tanding does not require precise proof of what the [agency’s] policies

might have been’ had the agency’s structure met constitutional requirements.” Collins

v. Mnuchin, 896 F.3d 640, 657 (5th Cir. 2018), on reh’g en banc, 938 F.3d 553 (5th Cir.

2019), aff’d in part, vacated in part, rev’d in part sub nom. Collins v. Yellen, 141 S. Ct. 1761

(2021) (quoting Free Enter. Fund, 561 U.S. at 512 n. 12). Indeed, the Supreme Court

recently rejected the suggestion that prejudice is required:

       Our precedents say otherwise. We have held that a litigant challenging
       governmental action as void on the basis of the separation of powers is

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      not required to prove that the Government’s course of conduct would
      have been different in a “counterfactual world” in which the
      Government had acted with constitutional authority. In the specific
      context of the President's removal power, we have found it sufficient that
      the challenger sustains injury from an executive act that allegedly exceeds
      the official’s authority.

Seila, 140 S. Ct. at 2196 (cleaned up).

                                          ***

      No matter how one slices the Section 7441 and 7443(f) apple, the result is a

violation of constitutional significance. Either the Tax Court is an Executive branch

entity (as the D.C. Circuit holds) violating Article II’s required Presidential control

(an argument not considered by the D.C. Circuit), or the Tax Court is non-Executive,

violating the Constitution’s required separation of powers. In either event, Section

7443(f) is unconstitutional.

II.   THE TAX COURT IS AN EXECUTIVE BODY THAT EXERCISES EXECUTIVE
      POWERS WHILE RESTRICTING PRESIDENTIAL CONTROL IN VIOLATION OF
      ARTICLE II.

      A.     The For-Cause Protection of Section 7443(f) is Unconstitutional.

      If the Tax Court is an Executive entity, then Article II commands the President

to ensure “that the Laws be faithfully executed” by the Tax Court. U.S. Const. art. II,

§ 3. However, Tax Court judges are immune from removal by the President except

“for inefficiency, neglect of duty, or malfeasance in office[.]” 26 U.S.C. § 7443(f).

Though not presented with the contention such restriction violates Article II, perhaps


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presciently, Judge Walker observed that “tax judges cannot be truly and fully

‘independent’ because ‘lesser officers must remain accountable to the President,

whose authority they wield.’ I express no opinion about whether tax judges’ removal

protection is constitutional.” Crim, 66 F.4th at 1007 (Walker, J. dissenting) (quoting

Seila, 140 S. Ct. at 2197).

      Cause for concern is well founded.

      As an Executive entity, “[t]he Tax Court is in the business of interpreting and

applying the internal revenue laws[.]” Kuretski, 755 F.3d at 943. If “Congress’s

amendment [did] not change the Tax Court’s powers[, which] are, and have always

been, executive[,]” Crim, 66 F.4th at 1007 (Walker, J. dissenting), then Section

7443(f)’s for-cause limitation violates the President’s powers required by Article II.

      Forsooth, the Supreme Court’s recognition that a similar for-cause removal

limitation for the Public Company Accounting Oversight Board is unconstitutional

applies with full force here:

      Neither the President, nor anyone directly responsible to him, nor even
      an officer whose conduct he may review only for good cause, has full
      control over the [Tax Court judges]. The President is stripped of the
      power our precedents have preserved, and his ability to execute the laws—
      by holding his subordinates accountable for their conduct—is impaired.

Free Enter. Fund, 561 U.S. at 493.




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       The purpose of such unified control over executive power in the President is to

provide the primary means of enforcing accountability on those lower executive

branch officials who exercise it.

       Congress has plenary control over the salary, duties, and even existence
       of executive offices. Only Presidential oversight can counter its influence.
       That is why the Constitution vests certain powers in the President that
       the Legislature has no right to diminish or modify. The Framers created
       a structure in which a dependence on the people would be the primary
       control on the government…. A key constitutional means vested in the
       President—perhaps the key means—was the power of appointing,
       overseeing, and controlling those who execute the laws.

Id. at 500-01 (cleaned up).

       “[A]bsent effective oversight tools, the Chief Executive could lose control over

the Executive Branch.” Collins, 896 F.3d at 663 (cleaned up) (citing Free Enter. Fund,

561 U.S. at 499). Section 7443(f)’s for cause removal protection makes Tax Court

judges entirely unaccountable to the President – and, therefore, the people – leaving

the President virtually no tools at his disposal to carry out Article II’s obligations.

       The for-cause limitation in Free Enterprise restricted the President’s ability to

control through removal to instances of “inefficiency, neglect of duty, or malfeasance

in office. Thus, to the Court, none of those Commissioners were subject to the President’s

direct control” in violation of Article II.” Collins, 896 F.3d at 663 (cleaned up, emphasis

added, citing Free Enter. Fund, 561 U.S. at 485). And Section 7443 imposes an

identical limitation on the President, confining removal power over Tax Court judges

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for “inefficiency, neglect of duty, or malfeasance in office, but for no other cause.” 26

U.S.C. § 7443(f).

       But, in order to uphold the constitutional mandate of Article II, “to maintain

‘adequate control’ over his subordinates, the President must retain sticks that he can

use to demand accountability—including the power to remove. As the Free Enterprise

Court made clear, Congress cannot transform the President into a ‘cajoler-in-chief’

who can only offer carrots.” Collins, 896 F.3d at 664 (footnotes omitted, quoting Free

Enter. Fund, 561 U.S. at 502). Tax Court judges operate virtually free of any

presidential oversight and without accountability to the people as they are unelected

executive branch officers removable by the President for good cause only upon an

official finding of explicitly limited and severe circumstances.

      This violates the well-settled understanding that executive officials must be

accountable to the President, and

      because the President, unlike agency officials, is elected, this control is
      essential to subject Executive Branch actions to a degree of electoral
      accountability. At-will removal ensures that “the lowest officers, the
      middle grade, and the highest, will depend, as they ought, on the
      President, and the President on the community.”

Collins v. Yellen, 141 S. Ct. 1761, 1784 (2021) (cleaned up, quoting 1 Annals of Cong.

499 (1789) (J. Madison)).

      Indeed,



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      [t]he President’s removal power serves vital purposes even when the
      officer subject to removal is not the head of one of the largest and most
      powerful agencies. The removal power helps the President maintain a
      degree of control over the subordinates he needs to carry out his duties
      as the head of the Executive Branch, and it works to ensure that these
      subordinates serve the people effectively and in accordance with the
      policies that the people presumably elected the President to promote.

Id. (citing as examples Seila, 140 S. Ct. at 2196-97; Free Enter. Fund, 561 U.S. at 501-

02; Myers v. United States, 272 U.S. 52, 131 (1926)).

      In other words, “the President can neither oversee the [Tax Court judges]

himself nor attribute the [Tax Court judges’] failings to those whom he can oversee.

[Tax Court judges] accordingly exercise power that conflicts with the design of [Article

II] to preserve political accountability.” United States v. Arthrex, Inc., 594 U.S. 1, 17

(2021) (cleaned up, emphasis in original).

      Appellate review by Article III courts makes no difference if “the Tax Court

exercises its authority as part of the Executive Branch,” Crim, 66 F.4th at 1000 (cleaned

up), because “[r]eview outside Article II… cannot provide the necessary supervision.”

Arthrex, 594 U.S. at 17. Tax Court judges are “exercising executive power and must

remain ‘dependent upon the President.’” Id. (quoting 1 Annals of Cong., at 611–612

(J. Madison). Under the extant statutory scheme, they do not.

      Instead, the buck stops with Tax Court judges, contrary to Article II:

      The President must be able to remove not just officers who disobey his
      commands but also those he finds negligent and inefficient, those who

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       exercise their discretion in a way that is not intelligent or wise, those who
       have different views of policy, those who come from a competing
       political party who is dead set against the President’s agenda, and those
       in whom he has simply lost confidence.

Collins, 141 S. Ct. at 1787 (cleaned up).

       Simply put, Section 7443(f) violates the President’s undivided duty to “take

Care that the Laws be faithfully executed,” U.S. Const. art. II, § 3. Moreover,

Appellant need not allege nor prove harm because in Seila the Supreme Court

reaffirmed its “precedents … that a litigant challenging governmental action as void

on the basis of the separation of powers is not required to prove that the

Government’s course of conduct would have been different in a ‘counterfactual world’

in which the Government had acted with constitutional authority.” 140 S. Ct. at 2196

(citation omitted).

       B.     The Tax Court Does Not Fit the Limited Exceptions Permitting
              Certain Restrictions on the President’s Removal Authority Over
              Principal Officers.

       The Supreme Court’s precedents have allowed Congress to create independent

agencies within the executive branch, but the High Court has been careful to explain

that strict limitations apply.

       For instance, “[w]hen Congress vests the appointment of inferior officers in the

heads of Departments[,] it may limit and restrict the power of removal as it deems best

for the public interest.” Free Enter. Fund, 561 U.S. at 494 (cleaned up). However, such


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atypical restrictions have only been allowed when “an officer directly responsible to

the President and through [whom] the President could act, [had] several means of

supervising or controlling” the appointee. Id. at 495 (cleaned up).

      In the context of executive bodies directed by muti-member principal officers

(typically referred to, though not technically defined as, independent agencies 3),

Congress has upheld for-cause removal restrictions conditioned on other protections to

preserve presidential control. For instance, Congress created the Merit Systems

Protection Board (“MSPB”) with the typical independent-agency structural safeguards

in place. The multi-member board is statutorily required to be bipartisan and the

President has a powerful tool to align the board with the administration’s policies by

appointment of the chairperson. See 5 U.S.C. § 1201 (“The Merit Systems Protection

Board is composed of 3 members appointed by the President, by and with the advice

and consent of the Senate, not more than 2 of whom may be adherents of the same

political party.”); 5 U.S.C. § 1203(a) (“The President shall from time to time appoint,

by and with the advice and consent of the Senate, one of the members of the Merit

Systems Protection Board as the Chairman of the Board.”).




3
 See Collins, 141 S. Ct. at 1783 (“the term ‘independent’ does not necessarily connote
independence from Presidential control”).

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      But Tax Court judges exercise unreviewable executive branch powers without

any safeguards typical of independent executive agencies – e.g., dispersing power

among muti-member heads, mandating bipartisanship, and giving a sitting President

the authority to appoint the chairperson to align policy with the administration (as

with the MSPB). Rather, it operates under its own, constitutionally deficient

independence, without meaningful control by the President.

      As explained by now-Justice Kavanaugh, even when Congress has validly

imposed for-cause removal restrictions, unlike the unfettered independence of the Tax

Court, “[n]othing comparable happens in traditional multi-member independent

agencies. Rather, the traditional multi-member structure ordinarily allows the current

President to exercise some influence over the agency through Presidential

appointment. That is because the President may designate agency chairs and may

remove agency chairs at will from their positions as chairs.” PHH Corp. v. Consumer

Fin. Prot. Bureau, 881 F.3d 75, 189 (D.C. Cir. 2018) (Kavanaugh, J., dissenting),

abrogated by Seila, 140 S. Ct. 2183 (considering the Consumer Financial Protection

Bureau (“CFPB”) and “hold[ing] that the CFPB’s leadership by a single individual




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removable only for inefficiency, neglect, or malfeasance violates the separation of

powers.” Seila, 140 S. Ct. at 2197).4

      And these Presidential tools are meaningful:

      The power to designate and remove chairs at will is important because,
      by statute, the chairs of multimember agencies have been granted budget,
      personnel, and agenda control….

      The chair of a multimember agency usually holds the position of chair—
      but not as a member of the agency—at the will of the President. After
      removal of an existing chair, the President can then appoint a new chair
      with preferences closer to his. The ability of the President to retain policy
      influence through the selection of the chair is important because ... the chair of
      a multimember agency is ordinarily its most dominant figure. While
      there is room for debate, it is clear that the ability to appoint the head of an
      independent agency allows the President to retain some control over that agency’s
      activities. An appointed chair will align with the President for multiple
      reasons….

      By exercising their power to appoint chairs of the major multi-member
      independent agencies, Presidents may gain some control over the
      direction of those agencies within days of taking office at the start of their
      first terms. For example, President Trump replaced the chairs of the
      FTC, FCC, SEC, and NLRB within one week of taking office in January
      2017. President Obama did the same by March 2009.

Id. at 189-90 (Kavanaugh, J., dissenting) (cleaned up).




4
 See also PHH Corp., 881 F.3d at 189 n. 15 (Kavanaugh, J., dissenting) (“For example,
the President unilaterally designates (and may unilaterally remove at will from the
position as chair) the chairs of the following agencies…” (listing over a dozen
examples).

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       But, just as “a President has no such power when it comes to the single Director

of the CFPB, who serves a fixed five-year term[,]” id. at 190 (Kavanaugh, J., dissenting),

neither does a President have such power over the Chief Judge, as, on its own accord,

“[t]he Tax Court shall at least biennially designate a judge to act as chief judge.” 26

U.S.C. § 7444(b).

       Nor is the Chief Judge of the Tax Court statutorily granted authority that would

enable the Chief Judge to control and align the Tax Court with a President’s policies.

While authorized to “divide the Tax Court into divisions of one or more judges, assign

the judges of the Tax Court thereto, and in case of a division of more than one judge,

designate the chief thereof[,]” 26 U.S.C. § 7444(c), the Chief Judge is not, e.g.,

statutorily “granted budget, personnel, and agenda control.” PHH Corp., 881 F.3d at

189 (Kavanaugh, J., dissenting), Rather, just like “the single-Director CFPB, with its

fixed five-year Director term,” the fifteen-year “term of office of [each] judge of the Tax

Court[,]” 26 U.S.C. § 7443(e), “causes a diminution of Presidential power greater than

the diminution that occurs in traditional multi-member independent agencies.” PHH

Corp., 881 F.3d at 189 (Kavanaugh, J., dissenting).

       And even though the ability to appoint a chair is an effective tool, standing

alone, it may not be enough to save a for-cause removal restriction from

unconstitutionality. In such instances,



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      [t]here is more. In a multi-member agency, the commissioners or board
      members other than the chair serve staggered terms and are replaced by
      the President as their terms expire. A tradition has developed by which
      some commissioners or board members of the opposite party resign from
      independent agencies when a new President takes office. Even apart
      from that tradition, the staggered terms mean that a President will have
      ever-increasing influence (through appointments) over an independent
      agency during the course of that President's term. That does not occur
      with the single-Director CFPB.

PHH Corp., 881 F.3d at 189 (Kavanaugh, J., dissenting).

      That does not occur with the Tax Court either. Alas, the fifteen years terms of

Tax Court judges necessarily exceed any one President’s maximum of eight years in

office, and (except in the case of consecutive two-term Presidents where a Tax Court

judge is appointed within the first year of the first President’s term) a Tax Court judge

is virtually guaranteed to serve over the course of at least three presidential

administrations, with at least one President precluded from exercising removal

without the explicit for-cause finding required under Section 7443(f) for the entire term.

Every such President is, therefore, unable to appoint new, preferred Tax Court judges

to align with the administration’s goals.

      Surely, that far exceeds the problem recognized by then-Judge Kavanaugh:

“Until the Director’s term expires, the new President has zero influence through

appointment, and the zero remains zero until the Director's term expires.” Id.

(Kavanaugh, J., dissenting). Consequently, “[t]his case therefore involves a substantial



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additional diminution of Presidential authority beyond the diminution that occurs in

a traditional independent agency.” Id. at 191 (Kavanaugh, J., dissenting) (emphasis in

original.

       Tax Court judges exercise executive branch power in a manner untraceable to

the President – “[a]fter all, from the moment an [official] is appointed, it is only the

authority that can remove him, and not the authority that appointed him, that he

must fear.” Collins, 141 S. Ct. at 1796 (Gorsuch, J., concurring in part) (cleaned up).

“Tax Court judges neither exercise judicial power in the particular sense employed by

Article III, nor legislative power under Article I. Because the Tax Court exercises its

authority as part of the Executive Branch,” Crim, 66 F.4th at 1000 (cleaned up),

Section 7443(f) violates Article II’s mandate that “the President [must] remain[]

responsible for the exercise of executive power—[so that] through him, the exercise of

executive power remains accountable to the people.” Arthrex, 594 U.S. at 27.

                                          ***

       Underscoring the constitutional infirmity, “[a]lthough structural ‘innovation’

is not itself unconstitutional, a novel agency fights uphill: ‘the lack of historical

precedent for an entity is perhaps the most telling indication of a severe constitutional

problem.’” PHH Corp., 881 F.3d at 144 (Henderson, J., dissenting) (cleaned up,

quoting Mistretta v. United States, 488 U.S. 361, 385 (1989) and Free Enter. Fund, 561



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U.S. at 505). And that proposition holds true “[h]ere too: Perhaps the most telling

indication of the severe constitutional problem with the [Tax Court] is the lack of

historical precedent for this entity.” Id. at 166 (Kavanaugh, J., dissenting).

      While the Tax Court’s structure wholly forgoes any and all of the safeguards

used in other multi-member executive bodies including for-cause restrictions on the

President’s removal powers, the historical anomalies extend even further, as Congress

has declared that “[t]he Tax Court is not an agency of, and shall be independent of,

the executive branch of the Government.” 26 U.S.C. § 7441. But, even noting “the

Supreme Court has cautioned that congressional pronouncements are not dispositive

of the status of a governmental entity for purposes of separation of powers analysis

under the Constitution,” Crim, 66 F.4th at 1001 (cleaned up), the Tax Court’s exercise

of governmental power must still comply with the Constitution.

      Accordingly, given that “the Tax Court exercises its authority as part of the

Executive Branch[,]” id., and that its “powers are, and have always been, executive…

tax judges cannot be truly and fully ‘independent’ because ‘lesser officers must remain

accountable to the President, whose authority they wield.’” Id. at 1007 (Walker, J.,

dissenting) (quoting Seila, 140 S. Ct. at 2197). Tax Court judges’ virtually complete

immunization from presidential oversight is “contrary to Article II's vesting of the

executive power in the President. The President cannot ‘take Care that the Laws be



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faithfully executed’ if he cannot oversee the faithfulness of the officers who execute

them.” Free Enter. Fund, 561 U.S. at 484 (quoting U.S. Const. art. II, § 3).

      Indeed, the Supreme Court recently explained that there are “only two

exceptions to the President’s unrestricted removal power” for exercise of executive

power — independent agencies and inferior officers with narrowly defined duties. Seila,

140 S. Ct. at 2192. Tax Court judges certainly are not inferior officers with narrowly

defined duties (e.g., independent counsel).5 And the Tax Court explicitly is not the

other exception, i.e., it is not an agency — independent or otherwise — of the executive

branch. 26 U.S.C. § 7441.

      Such “structural innovation” imposes a more difficult burden, PHH Corp., 881

F.3d at 144 (Henderson, J., dissenting), to establish constitutionality and overcome

“the most telling indication of the severe constitutional problem with the [Tax Court:]

the lack of historical precedent for this entity.” Id. at 166 (Kavanaugh, J., dissenting).

The historical existence of the Tax Court itself – not similarly structured entities –

cannot satisfy the criterion. See McGirt v. Oklahoma, 140 S. Ct. 2452, 2482 (2020)

(unconstitutional “acts, performed long enough and with sufficient vigor, are never


5
 Tax Court judges are not inferior officers at all, as “[w]hether one is an ‘inferior’
officer depends on whether he has a superior other than the President. An inferior
officer must be directed and supervised at some level by others who were appointed
by Presidential nomination with the advice and consent of the Senate.” Arthrex, 594
U.S. at 13 (cleaned up).

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enough to amend the law. To hold otherwise would be to elevate the most brazen and

longstanding injustices over the law, both rewarding wrong and failing those in the

right.”).

         Accordingly, the for-cause limitation of 26 U.S.C. § 7443(f) must be stricken.

III.     IF THE TAX COURT IS NOT AN EXECUTIVE ENTITY EXERCISING EXECUTIVE
         POWER, THE PRESIDENT’S REMOVAL AUTHORITY VIOLATES THE SEPARATION
         OF POWERS DOCTRINE.

         A.     The Tax Court is an Article I Court that Solely Exercises Judicial
                Power, Fully Independent of the Executive Branch.

         Facing the interbranch arguments after the post-Kuretski amendment, in Battat,

the Tax Court alluded to, but did not determine the Tax Court’s location within the

constitutional design.6 However, “[s]tart[ing], as we always do, with the statutory

language,” Advocate Health Care Network v. Stapleton, 137 S. Ct. 1652, 1658 (2017),

courts must “give effect, if possible, to every clause and word of a statute.” Williams v.

Taylor, 529 U.S. 362, 404 (2000) (cleaned up). Thus, by virtue of the statutory



6
    Specifically, the Tax Court stated:

         In our view, the public rights holding above resolves the removal issue
         without requiring that we address the tension with legislative intent that
         might be thought to arise under the opinion of the Court of Appeals in
         Kuretski. Having decided petitioners’ motion on that basis, we will follow
         the lead of Congress and the Supreme Court in Freytag and not further
         address the branch placement of the Tax Court here.

148 T.C. at 59.

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amendments in 1969, Congress removed the Tax Court from the Executive Branch

and squarely placed it in the Legislative Branch under Article I.

      The Supreme Court has consistently reiterated that in interpreting a statue,

courts are to presume “that the legislature says what it means and means what it says.”

Henson v. Santander Consumer USA, Inc., 137 S. Ct. 1718, 1725 (2017) (cleaned up).

Accordingly, giving effect to the language Congress has chosen for Section 7441, this

Court should conclude that the Tax Court is located in Article I and is “independent

of[ ] the executive branch of the Government” for all purposes. 26 U.S.C. § 7441.7

Similarly, by referring to it as “a court of record [composed of] the chief judge and the

judges” (id.) that exercises “such jurisdiction as is conferred” by the Code (26 U.S.C.

§ 7442), it is clear that the Tax Court solely exercises judicial power for separation of

powers purposes.

      The expansion of judicial functions and the reclassification of the Tax Court from

independent agency to Article I Court was a point of discussion in Freytag. The Supreme

Court analyzed the Tax Court’s status in the constitutional scheme including the




7
 In its best light, a contrary interpretation reduces “the phrase [to] mere surplusage.
Such a construction of a statute, however, is not favored by the law and would violate
a fundamental rule of statutory interpretation-that in construing statutes courts
should give effect, if possible, to every word used by Congress.” Symons v. Chrysler Corp.
Loan Guarantee Bd., 670 F.2d 238, 241–42 (D.C. Cir. 1981) (cleaned up).

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functions, form, and powers of the Tax Court and found that each is “quintessentially

judicial in nature.” 501 U.S. at 891.

       In reaching its conclusion, the Supreme Court noted Congress expressly

amended the Tax Court’s classification from an “independent agency of the executive

branch” to one of a “court of record under Article I.” Id. at 885. And the Tax Court

maintains a “function and role in the federal judicial system [that] closely resemble[s]

those of the federal district courts.” Id. at 891. Consequently, the High Court concluded

the Tax Court “exercises judicial, rather than executive, legislative, or administrative,

power… a portion of the judicial power of the United States.” Id. at 890-91. The Supreme

Court’s views were pellucid: “The Tax Court exercises judicial power to the exclusion of

any other function… [and] remains independent of the Executive and Legislative

Branches.” Id. at 891. Consequently, the Tax Court is among the Article I courts “that

exercise judicial power and perform exclusively judicial functions among the ‘Courts of

Law[.]’” Id. at 892.

       The Tax Court is not precluded from exercising judicial power because it is a

legislative court; rather, “non-Article III tribunals [can] exercise the judicial power of the

United States.” Freytag, 501 U.S. at 889 (citation omitted). However, the Constitution’s

separation of powers requirement endures.




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      B.     The Separation of Powers Doctrine is not Limited to Article III Judges
             and Applies with Equal Force to Article I Judges.

      The Tax Court’s conclusion that “regardless of the branch location of the Tax

Court, provisions authorizing removal of Tax Court Judges are constitutional[,]”

Battat, 148 T.C. at 52, is as shocking as it is unprecedented. In any event, it is wrong.

      “Our Constitution divided the powers of the new Federal Government into

three defined categories, Legislative, Executive, and Judicial.” Free Enter. Fund, 561

U.S. at 483 (cleaned up). “Within our political scheme, the separation of

governmental powers into three coordinate branches is essential to the preservation

of liberty.” Mistretta, 488 U.S. at 380. “Stated in its simplest terms, the separation of

powers doctrine prohibits each branch of the government from intruding upon the

central prerogatives of another.” United States v. Moussaoui, 382 F.3d 453, 469 (4th

Cir. 2004) (cleaned up). “Such an intrusion occurs when one branch arrogates to itself

powers constitutionally assigned to another branch or when the otherwise legitimate

actions of one branch impair the functions of another.” Id.

      The Separation of Powers Doctrine applies throughout our tripartite system of

government and is not limited, as the Battat decision determined, to the Executive

Branch’s intrusion into Article III. See 148 T.C. at 53 (“In considering the

constitutionality of section 7443(f), the question that arises is: ‘Does providing to the

President the authority to remove Tax Court Judges give the President any


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unconstitutional power to interfere with the Article III judicial power of the United

States?’”). Indeed, to state the very premise of the Battat decision is to reject it.

       Battat created a wholesale exclusion for the Tax Court from the Separation of

Powers Doctrine, concluding that interbranch removal was constitutionally permissible

“regardless of the branch location of the Tax Court[.]” Id. at 52. But no Supreme

Court cases confine a separation of powers analysis to only Article III courts or judges.

Rather, the Supreme Court in Mistretta refers to the “Judicial Branch” and not Article

III courts or judges. See 488 U.S. at 383. Certainly, the analysis must be the same for

exercise of judicial power regardless of the branch, i.e., an Article III or an Article I court,

as neither the President as Executive nor Congress as the Legislature may encroach upon

a judge exercising judicial powers, the sine qua non of separation of powers.

       Unsurprisingly, given that Battat created the public rights exception to

separation of powers analysis out of whole cloth, it appears no cases exist to support

that analysis, but abundant caselaw establishes that the Separation of Powers Doctrine

is not as limited as the Tax Court suggests. See, e.g., Bowsher v. Synar, 478 U.S. 714

(1986) (Congress may not exercise removal power over officer performing executive

functions); I.N.S. v. Chadha, 462 U.S. 919 (1983) (Congress may not control execution

of laws except through Article I procedures); Northern Pipeline Construction Co. v.

Marathon Pipe Line Co., 458 U.S. 50 (1982) (Congress may not confer Article III power


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on Article I judges). Accordingly, the Separation of Powers Doctrine fully applies to

the Tax Court writ large and to Section 7443(f) writ small; the conclusion to the

contrary was inescapably incorrect.

       Tellingly, other Article I judges are not removable by the Executive. For example,

federal magistrate judges are not removable by the President. Rather, “[r]emoval shall

be by the judges of a district court[.]” 28 U.S.C. § 631(i). The same holds true for federal

bankruptcy judges. See 28 U.S.C. § 152(e). Similarly, judges on the Court of Federal

Claims (perhaps the most comparable federal officials to Tax Court judges) are not

removable by the President, but by Article III judges of the Federal Circuit. See 28 U.S.C.

§ 176(a). See also Williams v. United States, 289 U.S. 553, 565 (1933) (holding the Court

of Claims, an Article I Court, exercises judicial power: “By these provisions it is made

plain that the Court of Claims, originally nothing more than an administrative or

advisory body, was converted into a court, in fact as well as in name, and given

jurisdiction over controversies which were susceptible of judicial cognizance. It is only in

that the appellate jurisdiction of this court in respect of the judgments of that court

could be sustained, or concurrent jurisdiction appropriately be conferred upon the

federal District Courts. The Court of Claims, therefore, undoubtedly, in entertaining

and deciding these controversies, exercises judicial power....”).




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      While the Tax Court’s function was systematically statutorily altered (similar to

the Court of Federal Claims), Section 7443(f) remains a relic of past incarnations,

incompatible with the constitutional design.

      C.     Battat Misapplied Supreme Court Separation of Powers Precedents,
             and the Analysis is the same for Article I Judges as Article III judges.

      Battat primarily relied upon four Supreme Court cases – Bowsher, Morrison,

Mistretta, and McAllister – none of which addressed the removal of a federal judge in the

context of exercising the judicial power of the United States. Moreover, none of these

four cases supported the logic that the President’s removal power over Tax Court judges

does not run afoul of the Separation of Powers Doctrine. Indeed, they are to the

contrary.

             1.     Bowsher v. Synar.
      Bowsher determined that a remarkably similar for-cause removal provision under

31 U.S.C. § 703(e)(1)(B), which allowed Congress to remove the Comptroller General,

for among other things, “inefficiency,” “neglect of duty,” or “malfeasance,” violated the

Constitution’s separation of powers principles. Finding that removal power

unconstitutional, the Supreme Court noted the “breadth of the grounds for removal.”

Bowsher, 478 U.S. at 729. “These terms are very broad and, as interpreted by Congress,

could sustain removal of a Comptroller General for any number of actual or perceived

transgressions of the legislative will[,]” (id.) causing a “here-and-now subservience to


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another branch that raises separation-of-powers problems.” Id. at 727 n. 5. Moreover,

the Supreme Court found that it was inconsequential that Congress had not used such

power to remove a sitting Comptroller General. The mere threat made the removal

authority “constitutionally impermissible.” Id. at 727.

      Likewise, the President cannot be vested with removal power over Tax Court

judges exercising judicial power as such “would, in practical terms, reserve in [the

President] control over the [adjudication] of the laws.” Id. Even limited to for-cause

removal, the threat of a President leveraging the power, which has severe repercussions

to a Tax Court judge, provides the President with the potential tool to coerce

conformance with political motives: “Once an officer is appointed, it is only the

authority that can remove him, and not the authority that appointed him, that he

must fear and, in the performance of his functions, obey.” Id. (cleaned up). See also

Edmond v. United States, 520 U.S. 651, 664 (1997) (“The power to remove officers, we

have recognized is a powerful tool for control.”). The Supreme Court’s analysis in

Bowsher applies with the same force to the President’s power to remove Tax Court judges

as it did to Congress’s power to remove the Comptroller General: both violate the

Separation of Powers Doctrine.




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             2.     Morrison v. Olson.
      Cross-branch removal was addressed in Morrison v. Olson, 487 U.S. 654 (1988). In

Morrison, the Supreme Court considered whether 28 U.S.C. § 596(b)(2), which

authorizes judicial officers to “terminate an office of independent counsel at any time,

on the ground that the investigation of all matters within the prosecutorial jurisdiction

of such independent counsel or accepted by such independent counsel under section

594(e), and any resulting prosecutions, have been completed…[,]” violated the separation

of powers.

      The Supreme Court answered in the negative: “The termination provisions of the

Act do not give the Special Division anything approaching the power to remove the

counsel while an investigation or court proceeding is still underway….” Morrison, 487

U.S. at 682. Instead, removal power was “solely vested in the Attorney General.” Id. In

other words, because there was “no requirement of congressional approval of the

Attorney General’s removal decision,” id. at 686, there was no separation of powers

violation, and the act was constitutional.

      Critically, Morrison concerned termination of an office that is by design

temporary, not the removal of an officeholder. Here, the President is not given

authority to eliminate the position of Tax Court judges, but to remove a particular

Tax Court judge from office. Thus, Section 7443(f) threatens the independent exercise



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of judicial power by unconstitutionally allowing the removal of judicial officers by the

Executive.

              3.      Mistretta v. United States.
       Cross-branch removal was also the subject of Mistretta, where the Supreme Court

considered whether the President’s authority to remove Article III judges from the

United States Sentencing Commission (the “Commission”) violated the separation of

powers. Finding there was no constitutional violation under such a scheme, the Supreme

Court focused on the powers exercised by judges serving on the Commission. As the

Supreme Court noted, “[t]he Sentencing Commission unquestionably is a peculiar

institution within the framework of our Government. Although placed by the Act in

the Judicial Branch, it is not a court and does not exercise judicial power.” Mistretta, 488 U.S.

at 384-385 (emphasis added). The Supreme Court found that judges were “serving on a

nonadjudicatory commission” that “is not exercising judicial power.” Id. at 411 n. 35.

Thus, “because such limited removal power gives the President no control over

judicatory functions, interbranch removal authority under these limited circumstances

poses no threat to the balance of power among the Branches.” Id.

       Mistretta concerned the President’s ability to remove judges only from their roles

in the Commission, leading to the conclusion that, like the President’s appointment

power, “[t]he President’s removal power over Commission members poses a similarly



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negligible threat to judicial independence. The Act does not, and could not under the

Constitution, authorize the President to remove, or in any way diminish the status of

Article III judges, as judges.” Id. at 410 (emphasis added). Therefore, the High Court

explained, “[e]ven if removed from the Commission, a federal judge appointed to the

Commission would continue, absent impeachment, to enjoy tenure ‘during good

Behaviour’ and a full judicial salary.” Id. (citation omitted).

       The only similarity presented to the instant issue is that

       the President’s removal power under the Act is limited. In order to
       safeguard the independence of the Commission from executive control,
       Congress specified in the Act that the President may remove the
       Commission members only for good cause. Such congressional
       limitation on the President’s removal power… is specifically crafted to
       prevent the President from exercising “coercive influence” ….

Id. at 410–11 (footnote omitted).

       But in addition to the for-cause limitation on removal authority – solely in

appointees’ non-judicial roles in the Commission – the safeguards present in Mistretta

prevented a Separation of Powers violation: “In other words, since the President has

no power to affect the tenure or compensation of Article III judges, even if the Act

authorized him to remove judges from the Commission at will, he would have no

power to coerce the judges in the exercise of their judicial duties.” Id.

       Mistretta perfectly illustrates why the President’s removal power over Tax Court

judges, as judges, is constitutionally infirm. The President’s removal power confined to

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the non-judicial aspects of their roles in Mistretta is absent and reveals the constitutional

problem here. The President’s removal authority under Section 7332(f) strips Tax

Court judges of all aspects of employment, and even permanently bars them from ever

practicing before the Tax Court as a lawyer. See 26 U.S.C. § 7443(g) (prohibiting

subsequent Tax Court practice). Given the drastic consequences Presidential removal

has upon Tax Court judges, the threat of removal gives the President significant

potential for “coercive influence” that was absent in Mistretta.

              4.     McAllister v. United States.
       In McAllister v. United States, 141 U.S. 174 (1891), President Cleveland removed

Judge McAllister from his Article IV judgeship in the District of Alaska. Importantly,

McAllister did not challenge his removal but sued in the Claims Court for wages he

claimed he was entitled to. The Supreme Court concluded that the District of Alaska, a

then Article IV Court, was not a “court of the United States” (i.e., an Article III Court),

hence unlike Article III judges who cannot have their salaries diminished while in office

“no such guaranties are provided by that instrument in respect to judges of courts created

by or under the authority of congress for a territory of the United States.” Id. at 187.

       McAllister stands for the proposition that federal territorial judges could have their

salaries reduced (or not paid at all), but does not stand for the broad proposition that

cross-branch removal of non-Article III judges is permissible. Indeed, McAllister uniquely



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concerned the limitations of Congress’s plenary power over Territories pursuant to

Article IV: “The whole subject of the organization of territorial courts, the tenure by

which the judges of such courts shall hold their offices, the salary they receive, and the

manner in which they may be removed or suspended from office, was left by the

constitution with congress, under its plenary power over the territories of the United

States.” Id. at 188. See also U.S. Const. art. IV, § 3.

       McAllister is readily distinguishable as involving Article IV courts, unique to

territories, which are intended to be temporary (until statehood), and where the

Constitution as a whole does not even apply of its own force. See, e.g., 48 U.S.C. § 1561

(selectively applying by statute, inter alia, the Bill of Rights to the U.S. Virgin Islands).

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       Given that (i) the Tax Court exercises judicial power; (ii) Congress has clearly,

systematically, and repeatedly passed legislation which establishes the independence of

the Tax Court from the Executive branch; and (iii) other similarly situated Article I

judges with powers which would properly be classified as judicial in nature are not

removable by the President but, rather, removable for cause by the judiciary, it is evident

that Section 7443(f) is a nearly century-old vestige that harkens back to a time before the

Tax Court was a federal trial court and before its members were federal judges.




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      Additionally, if this Court were to uphold the Battat decision8 finding the

Separation of Powers Doctrine does not apply, the ramifications of the holding would

ripple out to all Article I judges. Bankruptcy judges, magistrate judges, and Court of

Claims judges, would necessarily fall within the holding of Battat. Accordingly,

applying the logic of Battat to the other Article I judges, the removal of the non-Tax

Court Article I judges by Article III judges would have to implicate the Separation of

Powers Doctrine. That is to say either Article I judges can be removed by the President

without violating the Separation of Powers doctrine, or Article I judges can be

removed by Article III judges without violating the doctrine, but the Separation of

Powers Doctrine cannot allow both conclusions.

      D.     The Public Rights Doctrine has no Impact on a Separation of Powers
             Analysis.

      Battat created a sui generis legal test for the separation of powers analysis, viz.,

whether a court adjudicates only “public rights disputes.” 48 T.C. at 55; see generally id.

at 52-55. But the Public Rights Doctrine jurisprudence relied on was wholly

inapplicable to a separation of powers analysis; instead, the caselaw cited in Battat

stands for the unremarkable proposition that Congress can create adjudicatory bodies

outside of Article III without violating Article III’s command vesting “[t]he judicial


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  The order denying the motion asserting interbranch arguments below relied
exclusively on Battat. R.32.

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Power of the United States” in Article III courts. U.S. Const. art. III, § 1. See Oil States

Energy Servs., LLC v. Greene’s Energy Grp., LLC, 138 S. Ct. 1365, 1373 (2018) (Under

that doctrine, Supreme Court “precedents have given Congress significant latitude to

assign adjudication of public rights to entities other than Article III courts.”).

       Accordingly, Congress can assign public rights cases to be heard before Article

I judges,9 before Article III judges, 10 or before Article IV judges,11 but the ability of

Congress to assign public rights cases to specific courts does not speak to the

Constitution’s commands generally or the separation of powers specifically. Thus, the

Tax Court’s holding that the public rights doctrine affects a separation of powers

analysis in any respect must be rejected.

       Importantly, the Tax Court’s public rights analysis has no limiting principle.

Indeed, if there is no impediment to the President removing a Tax Court judge based

on adjudicating only public rights cases, then, by the same logic, there would have to

be no impediment to the same for Claims Court judges who, by definition, adjudicate

only public rights cases. By the same token, if a District Court judge was adjudicating


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  See N. Pipeline, 458 U.S. at 73-74; 28 U.S.C. § 1491 (Claims Court jurisdiction for
tax refund lawsuits – “Tucker Act”);
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   See 26 U.S.C. § 7402 (jurisdiction of district courts); 28 U.S.C. § 1346 (district
court jurisdiction, concurrent with Claims Court, for tax refund lawsuits – “Little
Tucker Act”).
11
   See 48 U.S.C. § 1612(a) (providing that the District Court of the Virgin Islands has
the jurisdiction of a District Court of the United States).

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a public rights case, e.g., a tax refund lawsuit, there would have to be no impediment

to the President removing that judge from the case. Further, to the extent there could

be some argument made that District Court judges, by virtue of their status under

Article III, are different, the logic of Battat would break down when there is

concurrent Claims Court and District Court jurisdiction under the Little Tucker Act

and the Tucker Act,12 or when the Tax Court, the Claims Court, and the District

Courts can adjudicate similar tax disputes.13 In other words, the purported public

rights distinction necessarily dissolves when applied to common public rights disputes

between the American public and its government.

      Moreover, the Tax Court’s framing the separation of powers issue as limited to

Executive control that “interfere[s] with the Article III judicial power[,]” Battat, 148

T.C. at 53, was wrong. The Separation of Powers Doctrine applies to any instance of

one branch of government improperly intruding into the realm (i.e., the exercise of

power) of another branch, see McMellon v. United States, 387 F.3d 329, 341 (4th Cir.

2004). The public rights distinction is of no moment and Battat was wrongly decided.

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12
  See 28 U.S.C. § 1346(a); 28 U.S.C. § 1491.
13
  See 26 U.S.C. § 6228(a) (Tax Court, District Court, and Claims Court jurisdiction
to review a final partnership administrative adjustment).

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      Long before the foundation of this great Republic the “separation of powers was

known to be a defense against tyranny… prompting the Founders to protect against such

tyranny “by the very structure of the Constitution,” by employing “a self-executing

safeguard against the encroachment or aggrandizement of one branch at the expense of

the other.” Id. at 340-41 (cleaned up). The decision below defies this fundamental

safeguard.14

      At bottom, separation of powers forbids vesting power in the Executive over a

different branch’s power to ensure the structural design of our tripartite system of

government – “[t]he structure of the Constitution does not permit Congress to execute

the laws; it follows that Congress cannot grant to an officer under its control what it

does not possess” – it also follows that Congress cannot give the Executive the power

to control adjudication of the laws. Bowsher, 478 U.S. at 726.




14
  In the counterintuitive event the Tax Court is an Executive entity but exercises solely
judicial, and no Executive, power, the Separation of Powers Doctrine nevertheless
proscribes Presidential removal authority because it requires the separation of powers,
not necessarily the separation of branches of government. The Supreme Court has noted
that “the Framers did not require—and indeed rejected—the notion that the three
Branches must be entirely separate and distinct.” Mistretta, 488 U.S. at 380.
Interbranch removal of an official, may be permissible when a cross-branch officer is
exercising the same power as the removing official. But intrabranch removal is prohibited
when the intrabranch officer is exercising a different power than the removing official –
as is the case here. See Bowsher, 478 U.S. at 734.

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       This Court should follow that logic and reason that the President, as the

Executive who is charged with executing the laws, may not wield removal power over

a Tax Court judge charged with adjudicating them and who “exercises judicial power

to the exclusion of any other function… [and] remains independent of the Executive and

Legislative Branches.” Freytag, 501 U.S. at 891. Accordingly, this Court should hold

Section 7443(f) unconstitutional and excise it from Section 7443, reverse the decision

below, and remand for new proceedings before a different Tax Court judge.

IV.    A VALID JOINT RETURN IS A REQUIRED FINDING                        TO   UPHOLD      A
       DETERMINATION DENYING INNOCENT SPOUSE RELIEF.

       The Tax Court concluded that Appellant was not entitled to relief from joint

and several liability, finding that “[t]he tax liabilities [Appellant] seeks relief from are

solely attributable to her income.” R.63 at 9. But that finding is preconditioned on an

assumption that the joint tax return was legally valid. Finding that the liabilities are

attributable to Appellant necessarily requires a determination that the joint tax return

validly imposed the liabilities. The Tax Court’s failure to determine whether any valid

joint tax return existed for any year at issue was an error of law that defies common

sense, the statutory text, IRS guidance, and prior cases concluding to the contrary.

       “Whether a joint return has been filed is a question of fact, the resolution of

which depends upon the intent of the parties. To file jointly both spouses must intend

to make a joint return.” Okorogu v. Comm'r of Internal Revenue, T.C. Memo. 2017-53,


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2017 WL 1192118, at *7 (2017) (citing Heim v. Commissioner, 27 T.C. 270, 273–274

(1956), aff'd, 251 F.2d 44 (8th Cir. 1958)). However, the Tax Court explicitly refused

to make any such finding; rather, holding, “[r]egardless of whether [Appellant]

consented to having joint returns filed on her behalf, we lack jurisdiction to review

that claim in this proceeding insofar as it might bear on the correctness of the

assessments.” R.63 at 6.

       The Tax Court’s omission of this threshold determination defies common

sense and ignores the plain language rife throughout Section 6015, which prescribes

that “an individual who has made a joint return may elect to seek relief under the

procedures prescribed under subsection (b)” and affords relief from joint and several

liability under subsection (b) if “a joint return has been made for a taxable year” or under

subsection (c) “if an individual who has made a joint return for any taxable year” and the

individual meets certain other conditions. 26 U.S.C. § 6015(a)(1), (b)(1)(A), and (c)(1)

(emphasis added). To be clear, the various other conditions are inapposite unless the

individual has filed a joint return.

       The Tax Court put the cart before the horse, paradoxically holding that it

lacked jurisdiction to determine the correctness of the assessments while, by necessary

implication, upholding the validity of the tax returns, a prerequisite to the assessments

imposing liability. Forsooth, it is elementary that without a valid return, there can be



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no valid assessment. See 26 U.S.C. § 6201(a)(1) (“The Secretary shall assess all taxes

determined by the taxpayer or by the Secretary as to which returns … are made under

this title.”); 26 U.S.C. § 6020(b)(1) (for a non-or-fraudulent filer, “the Secretary shall

make such return…”). The Tax Court could not consider whether Appellant was

entitled to relief under Section 6015 unless it found that, for each applicable year, a

valid joint return was filed; otherwise, there could be no liability at issue.

       The decision below cannot be reconciled with cases holding directly contrary:

“The primary issue in this case is whether the returns for the taxable years, which were

not signed by petitioner, were joint returns rendering petitioner jointly and severally

liable for deficiencies [and an underpayment] determined by respondent[.]” Groves v.

Comm’r, T.C. Memo. 1957-196, 1957 WL 810 (1957). The Tax Court entirely omitted

consideration of threshold factors that vitiated the validity of any purported liability

– Appellant “did not authorize anyone to sign her name to the returns; she did not

know the returns had been filed; she did not participate in their preparation[.]” Id.

These factors were essential, as “intent is a prerequisite to the establishment of joint

liability on the part of the spouse who has not signed a return which purports to be

joint.” Id. (citation omitted, emphasis added).

       While “[i]t is true that where a husband filed a joint return, without objection

of the wife, who failed to file a separate return, it will be presumed the joint return



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was filed with the tacit consent of the wife. However, this presumption, arising from

respondent’s determination of deficiencies, may be rebutted. In the instant case it is

our opinion that there is ample evidence to rebut this presumption.” Id. The same

recognition holds true here, but the Tax Court refused to consider it.

       That error of law turned the proper analysis on its head:

       We must first determine whether the return filed by Alvin was Alvin’s
       and petitioner’s joint return. Because we find that petitioner has proven
       that she did not file a joint return with Alvin, we need not address the
       second issue — whether petitioner is absolved, under the innocent spouse
       exception of [then] section 6013(e), from liability for the deficiency
       asserted herein.

Snyder v. Comm’r, T.C. Memo. 1983-751, 1983 WL 14739 (1983).

       The decision below implicitly found the joint returns were valid while ignoring

all of Appellant’s testimony (as the sole witness) to the contrary, despite that “[t]he

critical question is factual — did [Appellant] intend to file a joint return?” Id.

       Moreover, the Tax Court failed to uphold the IRS’s own guidance, which

specifically prescribes the first step is to determine whether a valid joint return exists.

Upon an answer of “No,” the matter is discharged as there can be no liability that

requires relief:

       Section 6015 provides relief only from joint and several liability arising
       from a joint return. If an individual signs a joint return under duress, the
       election to file jointly is not valid and there is no valid return with respect to the
       requesting spouse. The individual is not jointly and severally liable for any income
       tax liabilities arising from that return. In that case, section 6015 does not

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      apply and is not necessary for obtaining relief. If an individual files a claim
      for relief under section 6015, but also maintains that there is no valid joint return
      due to duress, the Service will first make a determination as to the validity of the
      joint return and may accordingly deny the request for section 6015 relief based
      on the fact that no joint return was filed (and thus, relief is not necessary). If it
      is ultimately determined that a valid joint return was filed, the Service
      will then consider whether the individual would be entitled to relief from
      joint and several liability on the merits.

Rev. Proc. 2013-34, § 2.03 (emphasis added).15

      Consistent with Rev. Proc. 2013-34, the Code in general, and common sense,

“[because Appellant] herein did not intend to and did not in fact file a joint return

she incurs no joint and several liability based on a joint return.” Helfrich v. Comm’r, 25

T.C. 404, 408 (1955), acq., IRS Announcement Relating to: Helfrich (IRS ACQ Dec. 31,

1956). The decision below fundamentally misapplied the law, which requires that

“before we render a determination on the merits of W’s claim for equitable relief, we must

determine whether the returns filed for petitioners for [the years at issue] were valid

joint returns.” Okorogu, 2017 WL 1192118, at *6 (emphasis added).

      The Tax Court averred that it reached its decision to deny equitable relief under

Section 6015(f) after “[t]aking into consideration all the facts and circumstances,”

R.63 at 9, but explicitly refused to take into consideration the precise fact and


15
   There is no analytical difference between a purported joint return that was filed
without a spouse’s necessary intent to file jointly and a purported joint return filed
with the spouse’s signature procured through duress. In either case, the joint return
is ineffective to the spouse with the result that no liabilities can attach.

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circumstance that aggrieved Appellant – that she was being held accountable for

liabilities reported on a return that she did not consent to file. The failure to do so

illustrates the Tax Court’s jurisdictional error as well, finding it had jurisdiction to

hear the case based on the claim, final determination, and timely petition, but that it

“lack[ed] jurisdiction to review [the] claim” that no valid joint return was filed. R.63

at 5, 6.

       Although a valid joint return may not be a direct jurisdictional element, it

necessarily becomes a jurisdictional element when genuinely at issue because without

a valid joint return, there can be no case or controversy, i.e., the case is moot.

       We first address whether petitioner and Mr. Pike made a valid joint Federal
       income tax return for 2010…. If the 2010 joint return is not a valid joint
       return, then she is not liable for the underpayment reflected thereon and
       the issue of whether she is entitled to relief under section 6015(f) for
       2010 becomes moot.

Jones v. Comm’r of Internal Revenue, T.C. Memo. 2019-139, 2019 WL 5212450, at *4

(T.C. 2019) (emphasis added).

       And, “[b]ecause mootness is jurisdictional, a moot case must be dismissed.”

Purpose Built Fams. Found., Inc. v. United States, 95 F.4th 1346, 1352 (11th Cir. 2024)

(cleaned up). Moreover, “[a] federal court has an independent duty to ensure that it

has subject-matter jurisdiction.” McIntosh v. Royal Caribbean Cruises, Ltd., 5 F.4th 1309,

1312 (11th Cir. 2021). The decision below violates this black-letter law.



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       The Tax Court’s failure to make any such finding and uphold a determination

of joint and several liability for an invalid tax return misapplied the language of the

Code, failed to uphold the IRS’s own guidance, conflicted with prior Tax Court

decisions, and violated long-settled jurisdictional principles, directly contrary to the

underlying purpose of innocent spouse review and common sense to boot.

Consequently, the decision below must be reversed and the case remanded for

consideration of whether Appellant consented to file jointly for each year at issue.

                                    CONCLUSION

       The Supreme Court “ha[s] explained on many prior occasions, the separation

of powers is designed to preserve the liberty of all the people.” Collins, 141 S. Ct. at

1780. That liberty is not suspended upon adjudication of public rights cases; rather,

the separation of powers is required and applies in full to the Tax Court.

       As an Article I court,16 the Tax Court exercises Executive power, and Section

7443(f)’s for-cause restriction violates the Constitution by preventing the President

from exercising the exclusive duty to “take Care that the Laws be faithfully executed[.]”

U.S. Const. art. II, § 3.




16
  Indeed, if it is an Article III court, the 15-year term limit violates the Constitution’s
requirement for lifetime tenure “during good Behaviour,” U.S. Const. art. III, § 1.

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       Alternatively, if the Tax Court truly is “independent[ of, i.e., not a part] of, the

executive branch of the Government[,]” 26 U.S.C. § 7441, then Section 7443(f)’s

grant to the President power to remove Tax Court judges exercising Judicial but not

Executive power violates “the separation of governmental powers into three

coordinate branches[, which] is essential to the preservation of liberty[,]” Mistretta, 488

U.S. at 380, as the ”power to remove officers… is a powerful tool for control.” Edmond,

520 U.S. at 664.

       There is no question that Section 7443(f) unconstitutionally violates the

separation of powers – the only question is the remedy. This Court must reverse the

decision below and either strike Section 7443(f)’s for-cause limitation (if the Tax Court

exercises Executive power) or strike Section 7443(f) entirely (if the Tax Court exercises

non-Executive, solely Judicial power) and grant Appellant new Tax Court proceedings

before a different judge. See Lucia v. S.E.C., 585 U.S. 237, 251 (2018) (“[Judge Gale]

has already both heard [Appellant’s] case and issued an initial decision on the merits.

He cannot be expected to consider the matter as though he had not adjudicated it

before.”).

       Additionally, the failure to make the required finding of whether a valid joint

tax return existed requires new proceedings, in which the Tax Court must determine

whether Appellant filed jointly for each of the years at issue.



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Respectfully Submitted,                         April 26, 2024

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            CERTIFICATE OF COMPLIANCE RE: WORD COUNT

        Pursuant to Fed. R. App. P. 32(g) counsel certifies that this brief is in
compliance with the 13,000 type-volume limitation of Rule 32(a)(7)(B)(i). The instant
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       I certify that on April 26, 2024, a copy of the foregoing was uploaded via the
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